                 UNITED STATES DISTRICT COURT
       CRIMINAL MOTION AND STATUS CONFERENCE MINUTES


Date: 9/29/2022                                      Judge:           Anthony J. Trenga
Time: 10:00 – 11:20                                  Reporter:        Rhonda Montgomery




Case Number: 1:21-CR-245


UNITED STATES OF AMERICA

vs.

IGOR Y. DANCHENKO                                       X     Present           Not Present


  Counsel for Defendant                  Counsel for Government
  Stuart Sears                           Deborah Brittain Shaw
  Danny Onorato (pro hac vice)           John Durham
                                         Michael Keilty

PROCEEDINGS:

Defendant’s [79] Motion to Dismiss the Indictment – Argued and Denied.
Government’s [78] Motion in Limine – Argued and taken under advisement.

Order to follow.

The Court indicated that the parties would be notified on the jurors stricken for cause based on
the questionnaire. The Court further indicated that 4 alternates would be empaneled and that the
standard number of peremptory strikes would be given for the 12, and two additional strikes
would be given for the alternates.

Counsel indicted they will notify the court if any additional CIPA issues will need to be
addressed.
